Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 1 of 30 PageID #: 871




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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  SVETLANA SHKOLNIKOVA,

                                 Plaintiff,                             Civil Action No.
                                                                        18-CV-6400
                 v.
                                                                        (Brodie, J.)
  LOUIS DEJOY, POSTMASTER GENERAL,                                      (Tiscione, M.J.)

                                 Defendant.

  ---------------------------------x



    MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S MOTION FOR
                      SUMMARY JUDGMENT




                                              Dorina Cela, Esq.
                                              Phillips & Associates, Attorneys at Law, PLLC
                                              Attorneys for Plaintiff
                                              45 Broadway, Suite 430
                                              New York, NY 10006
                                              (212) 248-7431
                                              dcela@tpglaws.com




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Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 2 of 30 PageID #: 872




                                                    TABLE OF CONTENTS

 TABLE OF AUTHORITIES ....................................................................................................... ii
 PRELIMINARY STATEMENT ................................................................................................. 1
 STATEMENT OF MATERIAL FACTS .................................................................................... 2
 ARGUMENT ................................................................................................................................. 2
    I.      LEGAL STANDARD FOR SUMMARY JUDGMENT................................................. 2
    II. MS. SHKOLNIKOVA CAN ESTABLISH A PRIMA FACIE CASE OF
    PREGNANCY DISCRIMINATION UNDER TITLE VII ................................................... 4
         A. Legal Standard for Title VII Pregnancy Discrimination Claims .............................. 4
         B. Ms. Shkolnikova Can Assert Direct Evidence That Her Pregnancy Was a
         Motivating Factor in Defendant’s Decisions ....................................................................... 7
         C. Alternatively, Ms. Shkolnikova Can Satisfy Her Prima Facie Burden in the
         McDonnell Douglas Analysis .............................................................................................. 14
    III. MS. SHKOLNIKOVA CAN ESTABLISH A PRIMA FACIE CASE OF
    RETALIATION UNDER TITLE VII ................................................................................... 17
         A. Legal Standard for Title VII Retaliation Claims ...................................................... 17
         B. Ms. Shkolnikova Engaged in Protected Activity on Multiple Occasions
         Throughout Her Employment with USPS and Defendant was Aware of Ms.
         Shkolnikova’s Protected Activity. ...................................................................................... 19
         C. Ms. Shkolnikova Suffered Adverse Employment Actions, and the Temporal
         Proximity Between Ms. Shkolnikova’s Protected Activity and These Adverse
         Employment Actions is Sufficient to Show Causation. .................................................... 20
    IV. MS. SHKOLNIKOVA CAN PROVE THAT USPS’ STATED REASONS FOR
    THE TERMINATION OF HER EMPLOYMENT WERE MERE PRETEXT ............... 23
         A. Legal Standard for Proving an Employer’s Stated Reason for an Adverse
         Employment Action is Merely Pretextual ......................................................................... 23
         B. USPS’s Stated Reasons for Each of the Adverse Employment Actions Ms.
         Shkolnikova Endured Were Mere Pretext for Defendant’s Discriminatory and
         Retaliatory Purposes ........................................................................................................... 23
 CONCLUSION ........................................................................................................................... 25




                                                                      i
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 3 of 30 PageID #: 873




                                                TABLE OF AUTHORITIES

 Cases

 Alzawahra v. Albany Med. Ctr., 546 F. App’x 53, (2d Cir. 2013) ................................................. 3

 Alzawahra v. Albany Med. Ctr., 546 F. App’x 53, 2013 WL 6284286 (2d Cir. 2013) .................. 3

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ................................................................... 3

 Asmo v. Keane, Inc., 471 F.3d 588 (6th Cir. 2006) ........................................................................ 6

 Barton v. Warren Cty., et al., 2020 U.S. Dist. LEXIS 141128, 2020 WL 4569465 (N.D.N.Y.

   Aug. 7, 2020)............................................................................................................................. 21

 Bateman v. Project Hospitality, Inc., 2009 U.S. Dist. LEXIS 92411 (E.D.N.Y. 2009) ............... 12

 Burlington Northern & Santa Fe Ry. v. White, 548 U.S. 53 (2003) ....................................... 19, 22

 Carter v. Syracuse City Sch. Dist., 2016 U.S. App. LEXIS 12870 (2d Cir. 2016) .......... 18, 21, 22

 Celotex Corp. v. Catrett, 477 U.S. 317, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986) ....................... 3

 Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29 (2d Cir. 1994) .................................................... 3

 Dancer v. Norden Sys., Inc., 151 F.3d 50 (2d Cir. 1998) ............................................................... 3

 Emmanuel v. Cushman & Wakefield, Inc., 2015 U.S. Dist. LEXIS 113280 (S.D.N.Y. 2015) .. 5, 6,

   8, 13

 Espinal v. Goord, 558 5.3d 119 (2d Cir. 2009) ............................................................................ 19

 Gallo v. Prudential Residential Servs., Ltd. P’ship, 22 F.3d 1219 (2d Cir. 1994) ......................... 3

 Gordon v. N.Y. City Bd. of Educ., 232 F.3d 111 (2d Cir. 2000) ................................................... 18

 Gorman-Bakos v. Cornell Coop. Extension, 252 F.3d 545 (2d Cir. 2001)............................... 7, 19

 Gorzynski v. JetBlue Airways Corp., 596 F.3d 93 (2d Cir. 2010) .................................................. 5

 Graham v. Macy’s, Inc., 2016 U.S. Dist. LEXIS 10269 (N.D.N.Y. 2016) ............................ 19, 23

 Holcomb v. Iona Coll., 521 F.3d 130 (2d Cir. 2008) ...................................................................... 6

                                                                       ii
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 4 of 30 PageID #: 874




 Humphreys v. Cablevision Sys. Corp., 553 F. App’x 13 (2d Cir. 2014) ........................................ 3

 Lenzi v. Systemax, Inc., 944 F.3d 97 (2d Cir. 2019) ................................................................. 6, 18

 Lovejoy-Wilson v. NOCO Motor Fuel, 263 F.3d 208 (2d Cir. 2001) ....................................... 7, 16

 Manoharan v. Columbia University College of Physicians and Surgeons, 842 F.2d 590 (2d Cir.

   1988).......................................................................................................................................... 18

 Mathirampuzha v. Potter, 548 F.3d 70 (2d Cir. 2008) ............................................................. 6, 15

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 106 S. Ct. 1348 (1986)........... 3

 McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) .................................................. 5, 6, 23

 McGuinness v. Lincoln Hall, 263 F.3d 49 (2d Cir. 2001) .............................................................. 6

 McNamara v. Tourneau, Inc., 496 F.Supp.2d 366 (S.D.N.Y. 2007) ............................................ 12

 Meloff v. N.Y. Life Ins. Co., 51 F.3d 372 (2d Cir. 1995)................................................................. 4

 Murtha v. New York State Gaming Comm'n., 2019 U.S. Dist. LEXIS 159783, 2019 WL 4450687

   (S.D.N.Y. Sept. 17, 2019) ......................................................................................................... 21

 Orlando v. BNP Paribas N. Am., Inc., 2015 U.S. Dist. LEXIS 143822 (S.D.N.Y. October 22,

 2015)……………………………………………………….……….………………………... 3, 13

 Ostrowski v. Atlantic Mut. Ins. Cos., 968 F.2d 171 (2d Cir. 1992) ............................................ 5, 7

 Pouncy v. Danka Office Imaging, 2009 U.S. Dist. LEXIS 44752 (S.D.N.Y. 2009) ................ 7, 16

 Price Waterhouse v. Hopkins, 490 U.S. 228 (1989) ................................................................. 5, 14

 Raskin v. Wyatt Co., 125 F.3d 55 (2d Cir. 1997) ............................................................................ 5

 Reeves v. Sanderson Plumbing Prods., 530 U.S. 133 (2000) ................................................ 23, 24

 Ruiz v. Cty. of Rockland, 609 F.3d 486 (2d Cir. 2010) ................................................................... 6

 Sanders v. N.Y. City Human Res. Admin., 361 F.3d 749 (2d Cir. 2004) .................................. 6, 15

 Sista v. CSC Ixis N. Am., Inc., 445 F.3d 161 (2d Cir. 2006) ........................................................... 5



                                                                         iii
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 5 of 30 PageID #: 875




 Sosa v. N.Y.C. Dep’t. of Ed., 368 F. Supp.3d 489 (E.D.N.Y. 2019) ............................................. 21

 St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502 (1993) .................................................................... 6

 Stern v. Trs. Of Columbia Univ., 131 F.3d 30 (2d Cir. 1997) ........................................................ 4

 Stern v. Trs. Of Columbia Univ., 131 F.3d 305 (2d Cir. 1997) ...................................................... 4

 Summa v. Hofstra Univ., 708 F.3d 115 (2d Cir. 2013) ........................................................... 19, 23

 Tubo v. Orange Reg’l Med. Ctr., 2015 U.S. Dist. LEXIS 139254 (S.D.N.Y. 2015)...................... 6

 Tyler v. Bethlehem Steel Corp., 958 F.2d 1176 (2d Cir. 1992) .................................... 5, 14, 23, 25

 Univ. of Tex. Southwestern Med. Ctr v. Nassar, 570 U.S. 338 (2013) ..................................... 6, 19

 Young v. UPS, 575 U.S. 206 (2015) ............................................................................................... 4

 Zann Kwan v. Andalex Grp. LLC, 737 F.3d 834 (2d Cir. 2013)................................................... 19

 Statutes

 42 U.S.C. §§ 2000e-(k) ................................................................................................................... 4

 42 U.S.C. §§ 2000e-2(a)(1)............................................................................................................. 4

 Rules

 Federal Rule of Civil Procedure 56 ................................................................................................ 2

 Federal Rule of Civil Procedure Rule 56.1 ..................................................................................... 2




                                                                     iv
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 6 of 30 PageID #: 876




                                PRELIMINARY STATEMENT

        Plaintiff Svetlana Shkolnikova (“Plaintiff” or “Ms. Shkolnikova”) respectfully submits this

 Memorandum of Law in opposition to Defendant’s Motion for Summary Judgment. The record

 presents multiple triable issues of fact that are more appropriate for jury consideration than

 resolution by summary judgment. Should this motion be resolved in Ms. Shkolnikova’s favor,

 these facts would support and sustain her discrimination and retaliation claims under Title VII of

 the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e to 2000e-17 (“Title VII”) before a jury.

        But for Ms. Shkolnikova’s pregnancy and participation in protected activity, she would not

 have been subjected to the discriminatory and retaliatory treatment by Defendant USPS

 (“Defendant” or “USPS”) described herein. After completing her training and beginning work as

 a City Carrier Assistant 2 (“CCA”) at USPS’s Homecrest Station (“Homecrest”), Ms. Shkolnikova

 attended a regularly scheduled appointment with her obstetrician-gynecologist (“OB-GYN”)

 where she was instructed to ask for a work-related accommodation due to a pregnancy-related

 condition. Ms. Shkolnikova disclosed her pregnancy and provided her doctor’s note describing her

 need for an accommodation to Adela Livingston, the Area Manager for Homecrest. In response,

 Ms. Livingston failed to engage in an efficient dialogue with Ms. Shkolnikova regarding her

 specific needs and instead attempted to relinquish all responsibility for the supervision and

 assessment of Ms. Shkolnikova as a pregnant employee in need of an accommodation. USPS’s

 responses to Ms. Shkolnikova’s subsequent attempts to engage in productive conversations

 regarding her needs ran contrary to USPS’s own reasonable accommodation procedures and

 indicated underlying hostility from management toward Ms. Shkolnikova as a pregnant employee.

        In the months that followed Ms. Shkolnikova’s initial disclosure of her pregnancy and

 accommodation requests, USPS engaged in a string of discriminatory acts including: 1) removing



                                                 1
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 7 of 30 PageID #: 877




 Ms. Shkolnikova from Homecrest’s schedule, 2) ordering her to attend unnecessary re-training, 3)

 denying her request for reasonable accommodations of her pregnancy-related condition, and 4)

 terminating her employment. The evidence described herein makes clear that these decisions were

 made with discriminatory animus towards Ms. Shkolnikova as a pregnant employee.

        USPS used each previous discriminatory act as justification for the next. The record brings

 to light overt contradictions in statements by USPS’s agents, policy statements, and investigations,

 which show that USPS is attempting to gloss over the true motives for its actions. USPS cannot

 credibly explain why it disregarded some of the accommodations requested by Ms. Shkolnikova,

 why she was kept off the schedule for weeks before being placed in “off-duty” status, and why no

 USPS employee to date has taken responsibility for the decision to terminate her employment.

 Perhaps most critically, USPS has no reasonable answer for why short-term leave was unavailable

 to Ms. Shkolnikova as an accommodation, when it admits that she was placed on unpaid short-

 term leave during the time USPS expended to determine if it could accommodate her.

        Accordingly, Ms. Shkolnikova respectfully asks the court to deny Defendant’s motion.

                            STATEMENT OF MATERIAL FACTS

        Ms. Shkolnikova respectfully refers the Court to the factual background described in detail

 in Plaintiff’s Opposition to Defendant’s Rule 56.1 Statement (“Pl. 56.1 Opp.”) and Plaintiff’s Rule

 56.1 Counterstatement of Facts (“Counterstatement”), the Declaration of Plaintiff’s counsel (“Cela

 Decl.”), and the exhibits annexed thereto.

                                           ARGUMENT

 I.     LEGAL STANDARD FOR SUMMARY JUDGMENT

        Rule 56 of the Federal Rules of Civil Procedure provides that the “court shall grant

 summary judgment if the movant shows that there is no genuine dispute as to any material fact and


                                                  2
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 8 of 30 PageID #: 878




 the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also, e.g., Celotex

 Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 2552, 91 L. Ed. 2d 265 (1986); Humphreys

 v. Cablevision Sys. Corp., 553 F. App’x 13, 14 (2d Cir. 2014). The burden of showing that no

 genuine factual dispute exists rests on the moving party. See Alzawahra v. Albany Med. Ctr., 546

 F. App’x 53, 54 (2d Cir. 2013). To defeat a motion for summary judgment, the non-moving party

 must “cit[e] to particular parts of materials in the record” to show that “a fact . . . is genuinely

 disputed.” Fed. R. Civ. P. 56(c)(1); Orlando v. BNP Paribas N. Am., Inc., 2015 U.S. Dist. LEXIS

 143822, at *12 (S.D.N.Y. October 22, 2015) (citing Matsushita Elec. Indus. Co. v. Zenith Radio

 Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 1356 (1986)).

        In evaluating the record to determine whether there is a genuine issue as to any material

 fact, “[t]he evidence of the non-movant is to be believed, and all justifiable inferences are to be

 drawn in his favor.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). “If, as to the issue

 on which summary judgment is sought, there is any evidence in the record from any source from

 which a reasonable inference could be drawn in favor of the nonmoving party, summary judgment

 is improper.” Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 37 (2d Cir. 1994).

        Further, if “a case turns on the intent of one party, as employment discrimination and

 retaliation claims often do, a trial court must be cautious about granting summary judgment.”

 Orlando, 2015 U.S. Dist. LEXIS 143822, at *13 (quoting Gallo v. Prudential Residential Servs.,

 Ltd. P’ship, 22 F.3d 1219, 1224 (2d Cir. 1994)) (internal citations omitted). The Court must

 carefully scrutinize the available evidence in search of circumstantial proof to undercut the

 employer’s explanations for its actions. See Id. “[S]ummary judgment may not be granted simply

 because the court believes that the plaintiff will be unable to meet his or her burden of persuasion

 at trial.” Id. at *13-14 (quoting Dancer v. Norden Sys., Inc., 151 F.3d 50, 54 (2d Cir. 1998)).



                                                   3
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 9 of 30 PageID #: 879




 Summary judgment should only be granted if an employer provides convincing evidence to explain

 its conduct and the Plaintiff’s argument consists of purely conclusory allegations of discrimination

 or retaliation. See Stern v. Trs. Of Columbia Univ., 131 F.3d 305, 312 (2d Cir. 1997); Meloff v.

 N.Y. Life Ins. Co., 51 F.3d 372, 375 (2d Cir. 1995).

 II.    MS. SHKOLNIKOVA CAN ESTABLISH A PRIMA FACIE CASE OF
        PREGNANCY DISCRIMINATION UNDER TITLE VII

        As a preliminary matter, Ms. Shkolnikova is not arguing that Defendant’s refusal to

 accommodate her was discriminatory in that the accommodations requested were provided to

 other, non-pregnant employees, as was the case in Young v. UPS, 575 U.S. 206 (2015). Instead,

 Ms. Shkolnikova argues that the treatment she endured from the outset of her time at Homecrest –

 well before her requests for an accommodation were officially denied – was motivated by

 discriminatory intent toward her as a pregnant employee. Plaintiff’s evidence far surpasses mere

 “conclusory allegations” and the record described fully herein supports a finding of discrimination.

 See Stern v. Trs. Of Columbia Univ., 131 F.3d 305, 312 (2d Cir. 1997); Meloff v. N.Y. Life Ins.

 Co., 51 F.3d 372, 375 (2d Cir. 1995).

        A. Legal Standard for Title VII Pregnancy Discrimination Claims

        Title VII of the Civil Rights Act of 1964 prohibits an employer from discriminating against

 an employee “with respect to [her] compensation, terms, conditions, or privileges of employment,

 because of such individual’s race, color, religion, sex, or national origin.” 42 U.S.C. §§ 2000e-

 2(a)(1). The Pregnancy Discrimination Act confirmed that “the terms ‘because of sex’ or ‘on the

 basis of sex’ include, but are not limited to, because of or on the basis of pregnancy, childbirth, or

 related medical conditions.” 42 U.S.C. §§ 2000e-(k).

        When a plaintiff can present “direct evidence” that “a prohibited discriminatory factor

 played a ‘motivating part’ in a challenged employment decision, the burden shifts to the employer

                                                   4
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 10 of 30 PageID #: 880




 to prove by a preponderance of the evidence that it would have made the same decision anyway.”

 Raskin v. Wyatt Co., 125 F.3d 55, 60 (2d Cir. 1997) (citing Price Waterhouse v. Hopkins, 490 U.S.

 228, 258 (1989)). “Direct evidence” is, however, “an unfortunate choice of terminology for the

 sort of proof needed to establish a ‘mixed-motives’ case” because it refers to “the manner in which

 the plaintiff proves [her] case” rather than “the quality of the evidence presented.” Ostrowski v.

 Atlantic Mut. Ins. Cos., 968 F.2d 171, 181 (2d Cir. 1992) Thus, “a plaintiff may prove that the

 forbidden animus ‘was a motivating factor’ through the presentation of either ‘direct’ or

 ‘circumstantial’ evidence.” Id. at 181-82 (quoting Tyler v. Bethlehem Steel Corp., 958 F.2d 1176,

 2132 (2d Cir. 1992)). The evidence presented need only be “sufficient to permit the factfinder to

 infer” that the discriminatory animus was “more likely than not a motivating factor in the

 employer’s decision.” Id. at 182 (emphasis added). Direct evidence can include “statements or

 actions by decisionmakers that may be viewed as directly reflecting the alleged discriminatory

 attitude” as well as similar statements or actions by other employees who heavily influenced the

 employer’s decision-making. Emmanuel v. Cushman & Wakefield, Inc., 2015 U.S. Dist. LEXIS

 113280 at *14 (S.D.N.Y. 2015) (quoting Sista v. CSC Ixis N. Am., Inc., 445 F.3d 161, 173-74 (2d

 Cir. 2006)) (internal quotation marks omitted) (emphasis in original).

        In the absence of direct evidence, courts assess Title VII claims under the burden-shifting

 framework established by McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). See

 Gorzynski v. JetBlue Airways Corp., 596 F.3d 93, 105-06 (2d Cir. 2010). Under this framework,

 plaintiff must first establish a prima facie case of discrimination by showing that: “(1) she belongs

 to a protected class; (2) she was qualified for the position at issue; (3) she suffered an adverse

 employment action; and (4) the adverse employment action occurred under circumstances giving

 rise to an inference of discrimination.” Tubo v. Orange Reg’l Med. Ctr., 2015 U.S. Dist. LEXIS



                                                  5
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 11 of 30 PageID #: 881




 139254, at *15 (S.D.N.Y. 2015) (Román, J.) (citing McDonnell Douglas 411 U.S.at 802); see St.

 Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 506 (1993); Ruiz v. Cty. of Rockland, 609 F.3d 486,

 491 (2d Cir. 2010). Plaintiff’s burden in establishing her prima facie case is “minimal.” Holcomb

 v. Iona Coll., 521 F.3d 130, 139 (2d Cir. 2008) (quoting Hicks, 509 U.S. at 506).

        To prove that she suffered an adverse employment action, the plaintiff must show that the

 action constituted a “materially adverse change in the terms and conditions of employment” that

 is more than a “mere inconvenience” or benign “alteration of job responsibilities.” Mathirampuzha

 v. Potter, 548 F.3d 70, 78 (2d Cir. 2008) (quoting Sanders v. N.Y. City Human Res. Admin., 361

 F.3d 749, 755 (2d Cir. 2004)).

        As to the fourth prong of the plaintiff’s prima facie analysis, the facts required will

 “necessarily vary in different employment discrimination cases.” McGuinness v. Lincoln Hall, 263

 F.3d 49, 53 (2d Cir. 2001). However, ‘“it suffices … to show that the motive to discriminate was

 one of the employer’s motives, even if the employer had other, lawful motives that were causative

 in the employer’s decision.”’ Lenzi v. Systemax, Inc., 944 F.3d 97, 107 (2d Cir. 2019) (quoting

 Univ. of Tex. Southwestern Med. Ctr v. Nassar, 570 U.S. 338, 343 (2013)). Plaintiff can show that

 the adverse employment action occurred under circumstances giving rise to an inference of

 discrimination by showing either “direct evidence of discriminatory intent” or through

 “circumstantial evidence demonstrating that the employer treated Plaintiff less favorably than a

 similarly situated employee outside of her protected group.” Emmanuel, 2015 U.S. Dist. LEXIS

 113280 at *14. Additionally, “‘temporal proximity between the employer’s learning of an

 employee’s pregnancy and an adverse employment action taken with respect to that employee . . .

 may . . . support . . . an inference of pregnancy discrimination.’” Lenzi, 944 F.3d at 108 (2d Cir.

 2019) (quoting Asmo v. Keane, Inc., 471 F.3d 588, 594 (6th Cir. 2006)) (ellipses in Lenzi). The



                                                 6
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 12 of 30 PageID #: 882




 Second Circuit “has not drawn a bright line defining the outer limits beyond which a temporal

 relationship is too attenuated to establish causation,” but generally a period of two months suffices

 to demonstrate causation for the purposes of establishing a prima facie case. Gorman-Bakos v.

 Cornell Coop. Extension, 252 F.3d 545, 554 (2d Cir. 2001); see, e.g., Pouncy v. Danka Office

 Imaging, 2009 U.S. Dist. LEXIS 44752, at *37 (S.D.N.Y. 2009) (citing Lovejoy-Wilson v. NOCO

 Motor Fuel, 263 F.3d 208, 224 (2d Cir. 2001)).

        B. Ms. Shkolnikova Can Assert Direct Evidence That Her Pregnancy Was a
           Motivating Factor in Defendant’s Decisions

        Ms. Shkolnikova can point to a vast array of circumstantial evidence beginning at the outset

 of her employment at USPS that is tied directly to the discriminatory animus she experienced as a

 pregnant CCA. See Ostrowski, 968 F.2d at 181-182. Ms. Shkolnikova was approximately twenty-

 five weeks pregnant when she began working at Homecrest on February 16, 2016. Ex. 1, Excerpted

 Deposition Transcript of Svetlana Shkolnilova (“Pl. Tr.”) at 75. Ms. Shkolnikova’s pregnancy was

 undeniably visible, as Isaac Middleton, Manager at Homecrest, stated during the USPS EEO

 Investigation that he noticed she had a “big belly.” Ex. 17, Isaac Middleton EEO Investigative

 Affidavit (“Middleton Affidavit”) at USPS 0149. Ms. Shkolnikova also testified during her

 deposition that Ms. Livingston asked her directly if she was pregnant on her first day at Homecrest.

 Pl. Tr. at 75. Yet, during her deposition, Ms. Livingston denied knowing about Ms. Shkolnikova’s

 pregnancy prior to her submitting her doctor’s note requesting an accommodation in a

 counterproductive attempt to shield herself from any perception of discriminatory animus. Ex. 4,

 Excerpted Deposition Transcript of Adela Livingston (“Livingston Tr.”) at 40. Six days later, on

 February 22, 2016, Ms. Shkolnikova discussed her pregnancy with Ms. Livingston when she

 presented her with her first doctor’s note requesting a reasonable accommodation. Livingston Tr.

 at 42. The next day, on February 23, 2016, Ms. Livingston engaged in swift discriminatory conduct

                                                  7
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 13 of 30 PageID #: 883




 against Ms. Shkolnikova when she instructed Homecrest Manager, Mr. Smerling, to send Ms.

 Shkolnikova home without working. Ex. 11, Steven Smerling EEO Investigative Affidavit

 (“Smerling Affidavit”) at USPS 0134. On that day, Ms. Livingston also sent an email to

 management and human resources officials, including Postmaster, Anthony Impronto, and Labor

 Relations Manager, Te’Nagh Bryant, asking if she had any “recourse” regarding Ms. Shkolnikova

 requesting a reasonable accommodation, as she believed the doctor’s note she had provided to be

 insufficient, but had previously been told that “the rules are different for pregnant employees.” Ex.

 7, February 23, 2016 Email from Adela Livingston to Anthony Impronto, Matthew Doxsey,

 Te’Nagh Bryant, and David Rudy (“February 23 Email”). Notably, she then asked if Ms.

 Shkolnikova’s probationary period could be extended and if she could be left at home until after

 her maternity leave. Id. Ms. Livingston’s desire to leave Plaintiff home materialized, as Ms.

 Shkolnikova was not allowed to work at Homecrest again. Ms. Livingston’s actions directly reflect

 her discriminatory animus against Ms. Shkolnikova, as someone who, at a minimum, did not want

 to deal with a pregnant employee. See Emmanuel, 2015 U.S. Dist. LEXIS 113280 at *14.

        Furthermore, Ms. Livingston’s actions were in direct conflict with USPS’s reasonable

 accommodation policies. USPS’s Reasonable Accommodation Handbook indicates that a manager

 in receipt of a reasonable accommodation request “must process the request promptly” and engage

 the requestor in an “informal dialogue” regarding the details surrounding the accommodation. Ex.

 5, Reasonable Accommodation Handbook. The manager is instructed to be an active participant

 in identifying potential accommodations for the requestor by researching and offering “alternative

 suggestions for reasonable accommodations.” Id. In contrast, Ms. Livingston repeatedly testified

 that her only role in the reasonable accommodation process was to forward Ms. Shkolnikova’s

 request to human resources “for them to do whatever it is that they do.” Livingston Tr. at 43. By



                                                  8
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 14 of 30 PageID #: 884




 her own admission, Ms. Livingston did not engage in an adequate interactive dialogue with Ms.

 Shkolnikova regarding her request and only provided her with a general overview of the physical

 requirements of the CCA job “so that she could do as she chose with it.” Livingston Tr. at 43; Ex.

 10, Adela Livingston EEO Investigative Affidavit (“Livingston Affidavit”) at USPS 0116.

        In failing to comply with USPS’s procedure for addressing an accommodation request from

 an employee, Ms. Livingston did not provide Ms. Shkolnikova any direct guidance on what kind

 of doctor’s note she would accept until February 29, 2016, when she typed out a list of physical

 tasks that she wanted Ms. Shkolnikova’s doctor to consider. Pl. Tr. at 106-07; Ex. 8, Dr. Stromer

 February 29, 2016 Note (“February 29 Note”). There is no reasonable explanation for Ms.

 Livingston withholding this guidance from Ms. Shkolnikova until she had already provided two

 doctor’s notes. Even when Ms. Shkolnikova’s OB-GYN complied with Ms. Livingston’s typed

 instructions in his February 29 Note, Ms. Livingston still refused to accept it. Livingston Tr. at 68.

 Although Ms. Livingston finally considered Ms. Shkolnikova’s March 7, 2016 doctor’s note

 sufficient to be submitted to Human Resources, the record shows that Ms. Livingston submitted

 the note to human resources on March 17, 2016. See Ex. 13, March 7, 2016 Dr. Fayngersh and

 Semyon Elyash Note (“March 7 Note”); Livingston Tr. at 77; Ex. 9, March 17, 2016 Email Chain

 between Adela Livingston, Anthony Impronto, David Rudy, and Te’Nagh Bryant (“March 17

 Emails”). On March 17, Ms. Livingston emailed Postmaster Anthony Impronto regarding Ms.

 Shkolnikova’s medical documentation. See Ex. 9. Mr. Impronto then forwarded the request to

 David Rudy, Human Resources Manager, and asked if Ms. Shkolnikova’s request could be sent to

 the DRAC. Id. Ms. Livingston’s discriminatory animus kept Ms. Shkolnikova from working for

 weeks, as she failed to provide her with precise instructions on what was needed for Ms. Livingston

 to accept her reasonable accommodation request. It is also worth noting that Ms. Bryant, the DRAC



                                                   9
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 15 of 30 PageID #: 885




 Chair, received Ms. Livingston’s February 23 Email regarding Ms. Shkolnikova’s request for

 accommodation but did not respond beyond asking for confirmation of Ms. Shkolnikova’s name.

 See Ex. 7. Ms. Bryant testified that she would send an “essential function worksheet” to any

 manager who reached out to her regarding an employee who requested reasonable accommodation,

 but she did not send this worksheet to Ms. Livingston until March 24, 2016 when the DRAC

 process had already begun. Ex. 6, Excerpted Deposition of Te’Nagh Bryant (“Bryant Deposition.”)

 at 30-31; Ex. 35, Email chain between Te’Nagh Bryant, Anthony Impronto, and Adela Livingston

 regarding the Essential Functions Worksheet (“Essential Functions Worksheet Email”).

        During the USPS EEO investigation, Ms. Livingston stated that Ms. Shkolnikova was kept

 off the schedule because her medical documentation was not specific enough; however, this is

 demonstrably false. See Livingston Tr. at 43-44. Ms. Livingston testified at her deposition that,

 after receiving Ms. Shkolnikova’s first doctor’s note, she instructed Mr. Smerling to give Ms.

 Shkolnikova “minimum, a minimum of an hour” of work that day to assess how proficient she was

 at the tasks she learned in training. Id. Time records indicate that Ms. Shkolnikova was clocked

 in at Homecrest from 7:00 AM until after 6:00 PM on February 22, 2016, and Ms. Shkolnikova

 testified that she was allowed to complete a full route alone on that day. Pl. Tr. at 97; Ex. 16,

 Svetlana Shkolnikova Time Sheets (“Plaintiff Timesheets”) at USPS 0369. Additionally, Ms.

 Shkolnikova completed a March 1, 2016 two-ton truck driving certification without issue. Ex. 32,

 Training Completion Documents. Ms. Shkolnikova also attended a duplicative and unnecessary

 re-training from March 17, 2016 until March 19, 2016. Ex. 3, Svetlana Shkolnikova EEO

 Investigative Affidavit (“Plaintiff Affidavit”) at USPS 0087-0088. Ms. Shkolnikova testified that

 Timothy Lawson, Manager, called her and instructed her to report for re-training at the behest of

 Ms. Livingston. Pl. Tr. at 121. Although Ms. Livingston alleged in her investigative affidavit



                                                10
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 16 of 30 PageID #: 886




 completed pursuant to the USPS EEO investigation that no one ever told Ms. Shkolnikova to report

 for re-training, Ms. Shkolnikova was allowed to clock in at Bay Station to complete the training

 on March 17, March 18, and March 19 without intervention. Time Sheets at USPS 0372-0373. Ms.

 Livingston sent an email on March 21, 2016 asking “who authorized” Ms. Shkolnikova to work,

 seemingly to make it appear as though the training was not approved. Ex. 33, March 21, 2016

 Email from Adela Livingston (“March 21 Livingston Email”). “Further, USPS did not officially

 place Ms. Shkolnikova in “off-duty” status until after she completed her re-training on March 19,

 2016. See Exhibit 14, June 2, 2016 “Termination of City Carrier Assistant Appointment During

 Probation” Letter (“Termination Letter”).

        By the time Ms. Shkolnikova got to her DRAC meeting on March 28, 2016, over one month

 after the February 23 Email, it was clear that the decision not to accommodate her had already been

 made. Not surprisingly, Ms. Livingston was assigned to attend the DRAC meeting by Postmaster

 Impronto as an expert on Homecrest’s operations, but she insists that she did not have any input

 into the final decision. Livingston Tr. at 77, 118-19; Bryant Tr. at 184.

        Despite making potential accommodation requests including “temporary (3 month) Light

 Duty position such as an office or administration job, or assignment to truck driving duty, to have

 a lighter mail bag to push, or granted short term leave,” the DRAC decision letter to Ms.

 Shkolnikova only analyzes potential accommodations of a “quasi-sedentary position,” relocating

 relay boxes on Ms. Shkolnikova’s route, and splitting Ms. Shkolnikova’s mail into two parts. See

 Ex. 3 at USPS 0090; Ex. 12, April 14, 2016 DRAC Decision Letter (“DRAC Decision”). Short-

 term leave was not mentioned at all in the DRAC Decision or the USPS EEO Final Agency

 Decision although Ms. Shkolnikova requested short-term leave, Ms. Livingston mentioned short-

 term leave as a potential accommodation in her February 23 Email, and Ms. Bryant conceded that



                                                 11
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 17 of 30 PageID #: 887




 short-term leave was an accommodation request that DRAC had the ability to consider and grant.

 Ex. 3 at USPS 0090; Bryant Tr. at 159-160; Ex. 7; Ex. 15, USPS EEO Final Agency Decision

 (“EEO Final Agency Decision”); Ex. 14.

        Courts in this Circuit have held that short-term leave can be considered a reasonable

 accommodation, so long as the leave is “finite and will be reasonably likely to enable the employee

 to return to work.” McNamara v. Tourneau, Inc., 496 F.Supp.2d 366, 376 (S.D.N.Y. 2007)

 (quoting Graves v. Finch Pruyn & Co., 457 F.3d 181, 186 n.6) (2d Cir. 2006) (dicta)). See also

 Bateman v. Project Hospitality, Inc., 2009 U.S. Dist. LEXIS 92411, at *42 (E.D.N.Y. 2009). Ms.

 Shkolnikova had requested a finite period of leave as an accommodation only until she gave birth,

 which would enable her to return to work. See Ex. 3 at USPS 0090. Over four years after USPS

 failed to consider this potential accommodation, Ms. Bryant and Ms. Livingston both claimed in

 their depositions that Ms. Shkolnikova could not be granted temporary leave because it would have

 interfered with her probationary period. Bryant Tr. at 159; Livingston Tr. at 86. However, two

 other pregnant employees who went through the DRAC process, chaired by Ms. Bryant, to request

 accommodations for their temporary, pregnancy-related conditions, were not granted short-term

 leave, even though they had completed their probationary periods. See Ex. 30, Mail Handler

 Assistant Employment History Report Including DRAC Decision Letter (“Mail Handler

 Employment Records”) at USPS 0241-USPS 0243; Ex. 31, CCA Employment History Report

 Including DRAC Decision Letter (“CCA Employment Records”) at USPS 0246-USPS 0248.

        Adding insult to injury, Ms. Shkolnikova’s Termination Letter cited her inability to work

 and be evaluated during her probationary period as the reason for her termination. See Ex. 14.

 Defendant’s assertion completely ignores the reason why Plaintiff was not able to work after

 February 23, 2016, namely that she was removed from the work schedule because of her pregnancy



                                                 12
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 18 of 30 PageID #: 888




 and subsequently denied an adequate interactive process to determine the reasonable

 accommodations that were available to her. While Ms. Livingston denies being the decisionmaker

 with respect to Ms. Shkolnikova’s termination, her discriminatory adverse employment actions

 ultimately provided Defendant with the basis for Ms. Shkolnikova’s termination and can properly

 be considered direct evidence of discriminatory animus. See Emmanuel, 2015 U.S. Dist. LEXIS

 113280 at *14; Livingston Tr. at 128.

        Separately, Ms. Shkolnikova learned of a pregnant CCA who had previously worked at a

 USPS facility in Staten Island (“SI CCA”) and received a reasonable accommodation for her

 temporary, pregnancy-related condition, in the form of being allowed to drive a postal truck and

 deliver light packages. Pl. Tr. at 130-31; Ex. 3 at USPS 0086. There is no record of the SI CCA

 initiating any EEO activity or a DRAC proceeding, but this might mean that her request was

 processed locally at her station by a manager or supervisor without any need for DRAC

 involvement. See Ex. 5; Bryant Tr. at 53. In contrast, two pregnant, non-probationary employees,

 a Mail Handler Assistant and a CCA, requested reasonable accommodations while they were at

 Homecrest around the same time as Ms. Shkolnikova and, after interacting with DRAC, neither

 was accommodated. Ex. 30; Ex. 31. As such, although temporary accommodations for a pregnant

 employee were possible at a different USPS facility, there is a demonstrated pattern that such

 accommodations were not granted to pregnant women by Ms. Livingston and/or Ms. Bryant.

           i. Defendant Cannot Show by a Preponderance of the Evidence that it Would
              Have Made the Same Decision If Ms. Shkolnikova Was Not Pregnant

        USPS alleges that it terminated Ms. Shkolnikova’s employment because it was unable to

 evaluate Ms. Shkolnikova during her probationary period and that its reasonable accommodation

 denial occurred only after a “robust, interactive process” determined that Ms. Shkolnikova could

 not be accommodated. Def.’s MOL at 12. However, as explained above, Ms. Shkolnikova was

                                               13
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 19 of 30 PageID #: 889




 only unable to work due to Ms. Livingston’s initial decisions based on her discriminatory animus

 toward Ms. Shkolnikova as a pregnant employee and the inadequacy of Defendant’s reasonable

 accommodation process, which was inextricably tainted by the initial discrimination.

        While there may not be one “smoking gun” document in this case, all of the aforementioned

 circumstances serve to create a “thick cloud of smoke” that would reasonably allow a factfinder to

 infer that Defendant’s decisions would not have been made if not for Ms. Shkolnikova’s

 pregnancy. Tyler, 958 F.2d at1187 (quoting Price Waterhouse, 490 U.S. at 266 (O’Connor, J.,

 concurring)). Further, the evidence directly calls into question Defendant’s intent. As such, this

 case is not suitable for summary judgment. Orlando, 2015 U.S. Dist. LEXIS 143822, at *13.

        C. Alternatively, Ms. Shkolnikova Can Satisfy Her Prima Facie Burden in the
           McDonnell Douglas Analysis
        Even if, arguendo, Ms. Shkolnikova has not submitted enough “direct evidence” to warrant

 a mixed-motive analysis, her claim would succeed under the McDonnell Douglas analysis.

           i. Ms. Shkolnikova Suffered Multiple Adverse Employment Actions
        It is not disputed that Ms. Shkolnikova was a pregnant female at the time of her

 employment as a CCA with USPS and was qualified for her position.

        Ms. Shkolnikova suffered multiple adverse employment actions during her employment

 with USPS. First, Ms. Shkolnikova was sent home without working on February 23, 2016 and

 February 29, 2016. Ex. 3 at USPS 0084; Livingston Tr. at 38, 128; Ex. 10 at USPS 0115. Ms.

 Shkolnikova was kept off the Homecrest work schedule thereafter until her termination on June 2,

 2016 despite only being placed on “off-duty” status on March 19, 2016. Ex. 14.

        Next, Defendant did not merely deny Ms. Shkolnikova’s accommodation request; rather,

 Defendant did not give Ms. Shkolnikova a full and fair opportunity to participate in its

 accommodation process due to her pregnancy. As described supra in Section II(B), Ms. Livingston


                                                14
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 20 of 30 PageID #: 890




 failed to participate in a true interactive process with Ms. Shkolnikova regarding her multiple

 requests for reasonable accommodation. Livingston Tr. at 46; Ex. 10 at USPS 0116. Moreover,

 once Ms. Shkolnikova’s request was officially forwarded to the DRAC, the process was brief,

 conclusory, and failed to analyze viable accommodations that Ms. Shkolnikova had requested. See

 Ex. 12. Denial of this process is at its very core a “materially adverse change in the terms and

 conditions” of Plaintiff’s employment as it prevented Ms. Shkolnikova entirely from continuing

 to do her job and paved the way for her termination. Mathirampuzha, 548 F.3d at 78 (quoting

 Sanders, 361 F.3d at 755).

        Finally, Ms. Shkolnikova suffered the ultimate adverse employment action when she was

 terminated on June 2, 2016, on the day she gave birth to her child. See Pl. Tr. at 69.

           ii. Ms. Shkolnikova can Establish that the Adverse Employment Actions
               Occurred Under Circumstances Giving Rise to an Inference of Discrimination

        As described supra in Section II(B), there was a seven-day gap between when Ms.

 Shkolnikova’s supervisors, Mr. Smerling and Ms. Livingston, became aware of her pregnancy and

 their initial removal of Ms. Shkolnikova from the Homecrest schedule. See Pl. Tr. at 75; Ex. 3 at

 USPS 0084. There was a one-day gap between Ms. Shkolnikova discussing her pregnancy-related

 accommodation request with Ms. Livingston and Mr. Smerling first telling Ms. Shkolnikova to go

 home without working, per Ms. Livingston’s orders. See Livingston Tr. at 42; Ex. 3 at USPS 0084.

 Further, there was a seven-day gap between the aforementioned conversation between Ms.

 Shkolnikova and Ms. Livingston and Ms. Livingston removing Ms. Shkolnikova from the

 Homecrest schedule entirely. See Livingston Tr. at 42; Pl. Tr. at 109-10; Ex. 10 at USPS 0115.

 The temporal proximity between Livingston and Smerling learning that Ms. Shkolnikova was

 pregnant and their removing her from Homecrest altogether is sufficient to establish causation for




                                                  15
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 21 of 30 PageID #: 891




 purposes of a prima facie pregnancy discrimination case. See Pouncy, 2009 U.S. Dist. LEXIS

 44752, at *37 (citing Lovejoy-Wilson, 263 F.3d at 224).

        Further, seven days after Ms. Livingston learned of Ms. Shkolnikova’s pregnancy, she

 began to deny Ms. Shkolnikova access to the reasonable accommodation process outlined in

 Defendant’s Reasonable Accommodation Handbook, as described supra in Section II(B), by

 dragging her through a weeks-long process between February 22 and March 7, 2016. See Ex. 5;

 Livingston Tr. at 46; Ex. 10 at USPS 0116. Then, once Ms. Shkolnikova’s request was finally

 accepted by the DRAC, Defendant understated the reasonable accommodations Ms. Shkolnikova

 requested, seemingly to minimize the appearance that there were accommodations that could have

 been granted. See Ex. 12. Lastly, the DRAC Decision was sent on April 14, 2016, approximately

 two months after Ms. Livingston, Mr. Smerling, and Ms. Bryant learned of Ms. Shkolnikova’s

 pregnancy. Id. The close temporal proximity between these events is sufficient to show causation

 for Plaintiff’s prima facie case of discrimination.

        The termination of Ms. Shkolnikova’s employment also occurred under circumstances that

 give rise to an inference of discrimination. First, as described supra in section II(B), the decision

 to terminate Plaintiff was entirely due to Defendant’s prior discriminatory acts. Furthermore, no

 USPS employee will claim responsibility for the termination of Ms. Shkolnikova. Mr. Smerling

 denied any involvement and said that Ms. Livingston would have knowledge of the matter; Ms.

 Livingston said she did not have any input in the decision and that she does not know who decided

 to terminate Ms. Shkolnikova; Ms. Bryant denied responsibility and said the decision was likely

 made at the station management level but admitted that she did help write the Termination Letter;

 and Mr. Middleton, the supervisor who signed the termination letter, said he never had anything

 to do with Ms. Shkolnikova’s employment and that he only signed the letter at the direction of Ms.



                                                  16
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 22 of 30 PageID #: 892




 Livingston. Livingston Tr. at 128-32; Bryant Tr. at 205; Ex. 23 at USPS 0173; Ex. 11 at USPS

 0140; Ex. 25, June 21, 2016 Email from Steven Smerling to Darrell K. Ahmed (“June 21 Email”);

 Ex. 17 at USPS 0153-0154. The connection between the termination and Defendant’s other

 discriminatory activity, when coupled with the circumstances surrounding Ms. Shkolnikova’s

 termination and the expressed lack of accountability by the managers involved in Ms.

 Shkolnikova’s employment, would certainly give rise to an inference of discrimination.

 III.   MS. SHKOLNIKOVA CAN ESTABLISH A PRIMA FACIE CASE OF
        RETALIATION UNDER TITLE VII
        Plaintiff’s retaliation claim is not, as Defendant states, “duplicative of her claim for gender

 and pregnancy discrimination.” Def.’s MOL at 13. In addition to discriminating against Plaintiff

 due to her pregnancy, Defendant repeatedly retaliated against Plaintiff for requesting

 accommodations, making a claim of discrimination, and participating in an EEO investigation

 regarding her allegation of discrimination.

        Importantly, in the Final Agency Decision, the USPS EEO found that Ms. Shkolnikova

 established a prima facie retaliation claim for being denied her request for reasonable

 accommodation by the DRAC and terminated on June 2, 2016. See Ex. 15. As for the other two

 claims of retaliation, the USPS EEO erroneously based its decision on the mistaken assertion that

 Ms. Shkolnikova testified that her first protected activity took place when she complained on

 March 10, 2016, when she had actually testified that her first protected activity was when she made

 her initial accommodation request on February 22, 2016. Id.

        A. Legal Standard for Title VII Retaliation Claims
        Title VII forbids employers from retaliating against an employee “because [she] has made

 a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or

 hearing under this title [42 U.S.C. §§ 2000e-2000e-17].” 42 U.S.C. § 2000e-3. Retaliation claims

                                                  17
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 23 of 30 PageID #: 893




 brought under Title VII “are analyzed under the same McDonnell Douglas framework” as Title

 VII discrimination claims. Lenzi v. Systemax, Inc., 944 F.3d 97, 112 (2d Cir. 2019). To establish a

 prima facie case of retaliation, an employee must show (1) “that the employee was engaged in

 protected activity;” (2) “that the employer was aware of that activity;” (3) “that the employee

 suffered adverse employee decisions;” and (4) “that there was a causal connection between the

 protected activity and the adverse employment action.” Manoharan v. Columbia University

 College of Physicians and Surgeons, 842 F.2d 590, 593 (2d Cir. 1988).

        Title VII’s retaliation provision “casts a much wider net” than a Title VII discrimination

 claim in that a retaliatory act need not affect the terms and conditions of employment to be

 actionable. Carter v. Syracuse City Sch. Dist., 2016 U.S. App. LEXIS 12870, at *8 (2d Cir. 2016)

 (citing White, 548 U.S. at 64). Any actions that, when taking context into account, are “harmful to

 the point that they could well dissuade a reasonable worker” from participating in protected

 activity can suffice. White, 549 U.S. at 57, 68-69.

        Proof of causation can be shown either: “(1) indirectly, by showing that the protected

 activity was followed closely by discriminatory treatment, or through circumstantial evidence such

 as disparate treatment of fellow employees who engaged in similar conduct; or (2) directly, through

 evidence of retaliatory animus directed against the plaintiff by the defendant.” Gordon v. N.Y.

 City Bd. of Educ., 232 F.3d 111, 117 (2d Cir. 2000). Crucially, this standard “does not require a

 reviewing court or jury to consider the nature of the discrimination that led to the filing of the

 charge.” Burlington Northern & Santa Fe Ry. v. White, 548 U.S. 53, 70 (2003) (citing Alito, J.,

 concurring at 78) (emphasis in original) (quotation marks omitted).

        The analysis of whether temporal proximity between Plaintiff’s participation in protected

 activity and an employer’s adverse action can be used to show causation requires careful



                                                  18
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 24 of 30 PageID #: 894




 consideration of the circumstances surrounding the adverse employment action. See Espinal v.

 Goord, 558 5.3d 119, 129 (2d Cir. 2009). A period of four or five months is not too attenuated

 “where other protected activities and retaliatory actions occur in the interval.” Graham v. Macy’s,

 Inc., 2016 U.S. Dist. LEXIS 10269, at *24 (N.D.N.Y. 2016) (citing Gorman-Bakos v. Cornell Co-

 op Extension of Schenectady Cty., 252 F.3d 545, 555 (2d Cir. 2001)), aff’d., 675 Fed. App’x 81

 (2d Cir. 2017); see also Summa v. Hofstra Univ., 708 F.3d 115, 128 (2d Cir. 2013) (temporal

 distance of seven months was “not prohibitively remote” due to surrounding circumstances

 connecting the employee’s protected activity and the adverse employment action).

          Plaintiff must ultimately show that the unlawful retaliation “would not have occurred in

 the absence of the alleged wrongful action or actions of the employer.” Univ. of Texas Sw. Med.

 Ctr. v. Nassar, 570 U.S. 338, 133 S. Ct. 2517, 2533 (2013). This “but-for” causation, however,

 does not require proof that retaliation was the only cause of the employer's action; it only requires

 that the adverse action would not have occurred in the absence of the retaliatory motive. Zann

 Kwan v. Andalex Grp. LLC, 737 F.3d 834, 845-846 (2d Cir. 2013).

          B. Ms. Shkolnikova Engaged in Protected Activity on Multiple Occasions
             Throughout Her Employment with USPS and Defendant was Aware of Ms.
             Shkolnikova’s Protected Activity.

          Ms. Shkolnikova first engaged in protected activity on February 22, 2016, when she

 attempted to initiate USPS’s interactive accommodation process with her first doctor’s note

 requesting an accommodation. Livingston Tr. at 41-42. Plaintiff again engaged in protected

 activity on March 10, 2016 when she made a complaint to the USPS EEO. Ex. 20, Information for

 Pre-Complaint Counseling Form (“March 10 Complaint”). 1




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  Defendant does not dispute that either of these activities constitutes protected activity within the meaning of 42
 U.S.C. § 2000e-3. See Def’s MOL p. 15.

                                                           19
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 25 of 30 PageID #: 895




        The actors responsible for the adverse employment actions were acutely aware of Ms.

 Shkolnikova’s protected activity prior to taking said actions against her. First, Ms. Shkolnikova

 made her reasonable accommodation request directly to Ms. Livingston on February 22, 2016.

 Livingston Tr. at 41-42. Ms. Livingston then spoke with Mr. Smerling about Ms. Shkolnikova’s

 request that same day. Id. at 43. Ms. Livingston emailed Ms. Bryant as well as Anthony Impronto,

 Postmaster of Brooklyn and Matthew Doxsey, Manager of Health and Resource Management

 regarding Plaintiff’s accommodation request on February 23, 2016. See Ex. 7.

        Then, as to Ms. Shkolnikova’s March 10 Complaint, Ms. Bryant admits that she learned of

 Ms. Shkolnikova’s EEO activity on March 30, 2016, which was two days after Ms. Shkolnikova’s

 DRAC meeting but seventeen days prior to DRAC sending its decision to Plaintiff. Ex. at USPS

 0163. Ms. Bryant further testified that she learned of Ms. Shkolnikova’s EEO activity because

 Postmaster Impronto told her about it, meaning that he learned of the protected activity prior to

 March 30, 2016. Id. Ms. Livingston’s testimony to USPS’s EEO investigator that she did not learn

 of Ms. Shkolnikova’s EEO activity until July 25, 2016 is patently false, as she had a phone call

 with a different EEO investigator on April 6, 2016 regarding Ms. Shkolnikova’s allegations of

 discrimination. See Ex. 28, Linda Ruggiero EEO Investigation Report (“Investigation Report”) at

 USPS 0065; Ex. 34, Ahmed EEO Dispute Resolution Specialist’s Inquiry Report at USPS 0035.

        C. Ms. Shkolnikova Suffered Adverse Employment Actions, and the Temporal
           Proximity Between Ms. Shkolnikova’s Protected Activity and These Adverse
           Employment Actions is Sufficient to Show Causation.

        Ms. Shkolnikova suffered a string of progressive adverse employment actions shortly after

 engaging in protected activity. On February 23, 2016, the day after Ms. Shkolnikova submitted

 her reasonable accommodation request, Ms. Livingston ordered Mr. Smerling to send Ms.

 Shkolnikova home without working. See Ex. 11 at USPS 0136. Ms. Livingston admits to taking


                                                20
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 26 of 30 PageID #: 896




 Ms. Shkolnikova off the work schedule only six days later. Livingston Tr. at 38, 48, 125-128; Ex.

 10 at USPS 0115. It is indisputable that an employer taking away work hours is an adverse

 employment action, as it would certainly “dissuade a reasonable worker” from participating in

 protected activity. White, 549 U.S. at 57.

        Approximately one month after Ms. Shkolnikova made her March 10 Complaint, she

 received the DRAC Decision denying her request for an accommodation. See Ex. 12. In trying to

 dismiss this clear retaliatory act, Defendant erroneously cites to two cases analyzing whether

 refusal to grant a particular accommodation constitutes an adverse employment action in a

 discrimination claim. See Def’s MOL at 16; Murtha v. New York State Gaming Comm'n., 2019

 U.S. Dist. LEXIS 159783, 2019 WL 4450687 (S.D.N.Y. Sept. 17, 2019); Barton v. Warren Cty.,

 et al., 2020 U.S. Dist. LEXIS 141128, 2020 WL 4569465 (N.D.N.Y. Aug. 7, 2020). As noted

 above, the standard for what constitutes an adverse employment action in a retaliation claim is far

 broader in that the retaliatory act need not affect the terms and conditions of employment to be

 actionable. See Carter, 2016 U.S. App. LEXIS 12870, at *8. Moreover, the relevant portion of

 Barton (which is not cited by Defendant) grants that that a court may consider “the underlying

 conduct of an alleged failure to accommodate” in determining whether that failure to accommodate

 constituted an adverse employment action. Barton, 2020 WL 4569465 at *45 (quoting Sosa v.

 N.Y.C. Dep’t. of Ed., 368 F. Supp.3d 489, 496 (E.D.N.Y. 2019)). The circumstances by which

 Defendant came to deny Ms. Shkolnikova’s reasonable accommodation request show clear

 discriminatory animus and are thus distinguishable from Barton. Not only did Defendant deny Ms.

 Shkolnikova’s reasonable accommodation request, it did so through a deficient DRAC decision

 that did not consider all of Ms. Shkolnikova’s requested accommodations after weeks of Ms.

 Livingston stringing Ms. Shkolnikova along. This refusal to accommodate, when viewed in



                                                 21
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 27 of 30 PageID #: 897




 concert with the relevant “underlying conduct” and the fact that the denial happened approximately

 one month after Ms. Shkolnikova’s March 10 Complaint to the USPS’s EEO office, is more than

 sufficient to meet Ms. Shkolnikova’s burden to prove prima facie retaliation. Id.

        Additionally, six days after Ms. Shkolnikova made her March 10 Complaint and less than

 one month after Ms. Shkolnikova made her initial accommodation request, Midwood Station

 manager, Timothy Lawson, called Ms. Shkolnikova and informed her that she was to report to re-

 training at Bay Station from March 17, 2016 to March 19, 2016. See Pl. Tr. at 121. Although this

 action admittedly did not alter the terms and conditions of Plaintiff’s employment, it need not have

 done so for the purposes of this analysis. See Carter, 2016 U.S. App. LEXIS 12870, at *8. Ms.

 Shkolnikova testified that no other employee was required to attend re-training. See Ex. 3 at USPS

 0088. Further, Ms. Shkolnikova was told that Ms. Livingston, the person who had already taken

 discriminatory actions against Ms. Shkolnikova, had required her to do so. Pl. Tr. at 121. When

 taken within the context of the entire timeline of events Ms. Shkolnikova has described, a

 reasonable factfinder could find that this adverse employment action would dissuade a reasonable

 employee from participating in protected activity. White, 548 U.S. at 57. This, when coupled with

 the temporal proximity between Ms. Shkolnikova’s protected activity and the re-training

 assignment satisfies Plaintiff’s burden at the prima facie stage.

        Finally, on June 2, 2016, less than four months after Ms. Shkolnikova’s initial protected

 activity on February 22, 2016 and less than three months after Ms. Shkolnikova made her March

 10 Complaint, Ms. Shkolnikova was terminated from her employment with USPS. See Ex. 14,

 Termination Letter. Defendant thus took this adverse employment action well within the confines

 of what the Court could consider “prohibitively remote,” especially when considering the

 additional protected activity that took place between Ms. Shkolnikova’s first reasonable



                                                  22
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 28 of 30 PageID #: 898




 accommodation request and this final adverse employment action. Summa, 708 F.3d at 128; see

 Graham, 2016 U.S. Dist. LEXIS at *24, aff’d., 675 Fed. App’x 81 (2d Cir. 2017).

 IV.    MS. SHKOLNIKOVA CAN PROVE THAT USPS’ STATED REASONS FOR THE
        TERMINATION OF HER EMPLOYMENT WERE MERE PRETEXT
        Ms. Shkolnikova can show that each of USPS’ stated reasons for the termination of her

 employment were mere pretext for Defendant’s true discriminatory and retaliatory aims.

        A. Legal Standard for Proving an Employer’s Stated Reason for an Adverse
           Employment Action is Merely Pretextual

        In both Title VII disparate impact discrimination cases and retaliation cases, once a

 Plaintiff proves her prima facie case, “the burden shifts to the defendant to articulate some

 legitimate, non-discriminatory reason for its action.” Holcomb, 521 F.3d at 138 (internal quotation

 marks omitted). Once the employer presents a legitimate non-discriminatory reason, the burden

 reverts to the plaintiff to demonstrate that the proffered reason is a mere pretext for discrimination.

 Reeves v. Sanderson Plumbing Prods., 530 U.S. 133, 143 (2000). The plaintiff can prove pretext

 either by showing that “a discriminatory reason more likely than not motivated the employer,” or

 by showing that “the employer’s proffered explanation is unworthy of belief.” Tyler v. Bethlehem

 Steel Corp. 958 F.2d 1176, 1181 (2d Cir. 1992) (citing Burdine, 450 U.S. at 256; McDonnell

 Douglas, 411 U.S. at 805). Further, “in appropriate circumstances, the trier of fact can reasonably

 infer from the falsity of the explanation that the employer is dissembling to cover up a

 discriminatory purpose.” Reeves, 530 U.S. at 147.

        B. USPS’s Stated Reasons for Each of the Adverse Employment Actions Ms.
           Shkolnikova Endured Were Mere Pretext for Defendant’s Discriminatory and
           Retaliatory Purposes

        The record contradicts Defendant’s assertion that Ms. Shkolnikova was merely kept off the

 work schedule pursuant to her reasonable accommodation process. As explained supra in Section


                                                   23
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 29 of 30 PageID #: 899




 II(B), Ms. Shkolnikova worked a full day after she first requested accommodation on February 22,

 2016, at the behest of Ms. Livingston and attended additional training in March 2016 without

 intervention. See Ex. 3; Livingston Tr. at 43; Ex. 32. Likewise, Defendant cannot explain why Ms.

 Shkolnikova was only considered “off-duty” starting March 19, 2016 when she had been prevented

 from working at Homecrest for nearly a month before her final reasonable accommodation request

 would be used to initiate a DRAC process. See Ex. 14. Because Defendant’s explanation is such

 an unambiguous falsehood, a trier of fact could reasonably infer that Defendant is attempting to

 cover up discriminatory intent. Reeves, 530 U.S. at 147.

        Additionally, Defendant’s claim that it determined Ms. Shkolnikova could not be

 reasonably accommodated through a “robust and interactive” process is demonstrably incorrect.

 Def.’s MOL at 12. As described supra in section II(B), Ms. Livingston’s refusal to engage in an

 adequate interactive process with Ms. Shkolnikova unfairly prolonged Ms. Shkolnikova’s

 accommodation request and directly contradicted Defendant’s own Reasonable Accommodation

 Handbook. Once Ms. Shkolnikova’s request was finally forwarded to the DRAC, the process again

 disregarded multiple potential accommodations that Ms. Shkolnikova requested. See Ex. 12; Ex.

 14. Further, the Reasonable Accommodation Handbook instructs the committee to make a finding

 as to whether any accommodation would have the desired aims, not just as to those that an

 employee requests. See Ex. 5. Ms. Livingston brought up short-term leave as an option for Plaintiff

 in her February 23 Email, and Ms. Bryant admitted in testimony that short-term leave is an

 accommodation that the DRAC could consider and grant. See Ex. 7; Bryant Tr. at 159-161. In fact,

 Ms. Bryant admitted that Ms. Shkolnikova was technically on short-term leave from the start of

 the DRAC process through her termination, which was the exact amount of time that she would

 have needed for leave since her child was born on the same day that she was terminated. See Id.



                                                 24
Case 1:18-cv-06400-MKB-ST Document 58 Filed 08/05/21 Page 30 of 30 PageID #: 900




        Defendant’s proffered reason for terminating Ms. Shkolnikova, that her supervisors were

 unable to evaluate her during her probationary period, is similarly “unworthy of belief.” Tyler, 958

 F.2d at1181. First, Ms. Shkolnikova did complete USPS training and work in Homecrest on

 multiple occasions, yet she was not provided with any formal evaluation. Ms. Livingston testified

 that Plaintiff was not evaluated because she “did not work,” which is patently untrue. Pl. Tr. at 72-

 73, 95-97; Ex. 16. Furthermore, Defendant’s own discriminatory and retaliatory conduct provided

 the entire basis for Ms. Shkolnikova’s termination. Ms. Shkolnikova was prevented from working

 first by Ms. Livngston and Mr. Smerling’s discriminatory actions and then by DRAC’s unfounded

 conclusion that there were no accommodations possible for Plaintiff.

        Defendant’s initial acts of discrimination and retaliation made Ms. Shkolnikova’s

 termination inevitable. Therefore, Ms. Shkolnikova’s termination as well as Defendant’s prior

 discriminatory and retaliatory acts would not have occurred if not for her pregnancy.

                                          CONCLUSION

        For the foregoing reasons, Ms. Shkolnikova respectfully submits that genuine issues of

 material fact preclude the Court from granting Defendant’s motion for summary judgment.

 Dated: New York, NY
        July 1, 2021
                                                        Respectfully submitted,
                                                               /s/Dorina Cela ___
                                                        Dorina Cela, Esq.
                                                        Phillips & Associates,
                                                        Attorneys at Law, PLLC
                                                        Attorneys for Plaintiff
                                                        45 Broadway, Suite 430
                                                        New York, New York 10006
                                                        (212) 248-7431
                                                        dcela@tpglaws.com

 To:    Paulina Stamatelos, Esq. (via Email and USAfx)



                                                  25
